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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

ZACH HILLESHEIM,

                     Plaintiff,                           8:17-CV-168

vs.
                                                          JUDGMENT
DMT, LLC,

                     Defendant.


         On the plaintiff's notice of voluntary dismissal (filing 12), and pursuant
to Fed. R. Civ. P. 41(a)(1), the plaintiff's complaint is dismissed with
prejudice.


         Dated this 16th day of August, 2017.


                                              BY THE COURT:



                                              John M. Gerrard
                                              United States District Judge
